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  7

  8                                UNITED STATES DISTRICT COURT
  9                              CENTRAL DISTRICT OF CALIFORNIA
 10

 11
       TERESA TURNER, INDIVIDUALLY                           Case No. 2:25-CV-00334-FMO-PD
 12    AND ON BEHALF OF ALL OTHERS
       SIMILARLY SITUATED,                                   JOINT STIPULATION TO EXTEND
 13                                                          TIME FOR DEFENDANT TO
                            Plaintiff,                       RESPOND TO PLAINTIFF’S
 14                                                          COMPLAINT; [PROPOSED ORDER]
               v.
 15
       NATIONAL NOTARY                                       Judge:   Fernando M. Olguin
 16    ASSOCIATION,
                                                             Complaint Served: January 21, 2025
 17                          Defendant.                      Response Due: February 11, 2025
                                                             New Response Date: April 14, 2025
 18

 19           Pursuant to Fed. R. Civ. P. 6 and L.R. 7-1, Plaintiff, TERESA TURNER
 20   (“Plaintiff”) and Defendant NATIONAL NOTARY ASSOCIATION
 21   (“Defendant”) (collectively, the “Parties”), hereby stipulate and agree to extend the
 22   deadline for Defendant to respond to the Plaintiff’s Complaint [Dkt. 1], as follows:
 23           1.      On January 21, 2025, Plaintiff served her Summons and Complaint on
 24   Defendant. [Dkt. 1, 8]. Defendant’s responsive pleading is currently due on
 25   February 11, 2025.
 26           2.      To allow the Parties additional time to discuss and confer about the
 27   allegations in the Complaint, the Defendant’s arguments concerning the
 28
                                                         1      CASE NO.: 2:25-CV-00334-FMO-
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             JOINT STIPULATION TO EXTEND TIME FOR DEFENDANT TO RESPOND TO PLAINTIFF’S
                                    COMPLAINT; [PROPOSED ORDER]
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  1   allegations, and potential resolution of the Complaint, the Parties hereby stipulate
  2   and agree to a sixty (60) day extension of time for the Defendant to respond to
  3   Plaintiff’s Complaint, through and including April 14, 2025.
  4           3.      There have been no prior requests for extensions submitted to the
  5   Court any party. This extension is sought in good faith, is not for the purpose of
  6   delay, and will not impact any deadlines in this case (as none have been set).
  7           4.      Accordingly, the parties hereby stipulate to extend the Defendant’s
  8   time to respond to Plaintiff’s Complaint by sixty (60) days, until April 14, 2025.
  9

 10           IT IS SO STIPULATED.
 11

 12   Dated:February 4, 2025                             HEDIN LLP
 13

 14
                                                         By: /s/ Frank S. Hedin
 15                                                               Frank S. Hedin
 16                                                      Attorneys for Plaintiff TERESA TURNER
                                                         and the Putative Class
 17

 18
      Dated: February 4, 2025                            CLARK HILL LLP
 19
 20

 21                                                      By: /s/ Myriah Jaworski
                                                                  Myriah Jaworski
 22
                                                         Attorneys for Defendant
 23                                                      NATIONAL NOTARY ASSOCIATION
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                                                           2   CASE NO.: 2:25-CV-00334-FMO-
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             JOINT STIPULATION TO EXTEND TIME FOR DEFENDANT TO RESPOND TO PLAINTIFF’S
                                   COMPLAINT; [PROPOSED ORDER]
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